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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
EMMA KOE et al.,
Plaintiffs,
Case No.
Vv.
CAYLEE NOGGLE et al.,
Defendants.

DECLARATION OF MARY KOE
I, Emma Koe,! hereby declare and state as follows:
1. I am over the age of eighteen, of sound mind, and in all respects competent
to testify. I have personal knowledge of the information contained in this

Declaration and would testify completely to those facts if called to do so.

+ Because of concerns about my child’s privacy and safety, I am seeking to proceed
in this case under a pseudonym. See Motion to Proceed Pseudonymously, filed
concurrently herewith. In addition, contemporaneous with signing this declaration,
I have signed with my legal name a separate copy of this declaration. My attorneys
have a copy of that separate declaration.
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. Tam a Plaintiff in this Action, and I am the parent and next friend of my
child, Amy, who is also a Plaintiff in this action.

. I was born and raised in a suburb of Atlanta, Georgia and received both my
undergraduate and nursing degrees from Georgia institutions. Currently, I
work as a registered nurse in an Atlanta-area hospital, which I have been
doing in some capacity for fourteen years.

. My husband and I were married in Georgia in 2009. Both of our children
were born at the hospital I work for, Amy in 2011, and her younger sister in
2014. Amy just turned 12 years old.

. When Amy was around four years old, my husband and I noticed that she
always played the female role in pretend play, and that she often preferred
dressing up in outfits typically associated with girls. From a young age, she
always gravitated more towards having female-identifying friends. She
would talk about having a husband in the future and would wear my tank
tops and call them her dresses. She never showed a strong aversion to
wearing “boys” clothing but would often change into “girls” clothing when
the opportunity presented itself. She loved to sing, dance, and perform. At
first, my husband and I thought she might be gay, but then she said on a few

occasions over the next 2-3 years, “I wish God would have made me a girl.”
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6. When Amy was around five years old, I looked into mental health therapists
for her who specialized in gender incongruences, but there were not any in
the Atlanta area who treated kids at her age.

7. Amy would frequently dress up in hand me down dresses, princess dresses,
oversized t-shirts or “tank top dresses” and toy high heels with her sister,
cousins, or with close friends. Eventually, I purchased her a few outfits that
she would often wear around the house or on vacation. She began wearing
“sirls” clothing outside of the house the summer before she socially
transitioned, just after she turned seven years old. That was also when she
requested that we use she/her pronouns when referring to her and asked us to
call her Amy instead of her given name.

8. I forced myself to use her chosen pronouns and name. My husband was
supportive but struggled a little more—in the beginning he would use
nicknames a lot and would avoid using any pronouns. We mourned the loss
of our expectations of who Amy would be. We were aware of the way the
world treats transgender individuals and knew she would be facing daily
uphill battles.

9. My husband struggled with the loss of Amy’s family name. I struggled with

knowing we would likely never have biological grandchildren from her.
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However, we both came around to knowing that she is her own person, and
we had to support her where she is, as any child deserves.

10.Amy’s sister was also supportive. She was around four years old at the time
and was mostly concerned with whether Amy would take all of her clothes
and toys. We explained to her that nothing would change, she just had a
sister and we would support and love her as we always had. She quickly
grew to love having a sister.

11.My husband and I attended PFLAG meetings for a time, a practice I
continued regularly for at least the first two years. I’m still active on the
local chapter’s online forum and I attend meetings whenever I am able. I
also joined Facebook support groups for parents of transgender children.
Being welcomed, supported, and loved made a huge difference, both to us
and to Amy.

12.In the last year before Amy transitioned, I felt as if she was farther along in
the process of accepting herself. She was more persistent in how she wanted
to look physically in the future with long hair, “girl” clothing. She had a lot
more dress up clothes in the house and had established friendships with a
group of girls. Prior to this time, she had started to have some sleep issues

between the ages of five to seven years old, despite always being a great
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sleeper up until that point. During that period, she would wake up 2 to 3
times every single night, and it was very difficult to get her back to sleep.
She would insist that one of us lay with her until she fell back asleep. After
her transition, she began sleeping through the night again.

13.The first few months after she transitioned were difficult for her because she
was returning to the same elementary school she had previously attended.
There was lots of questioning from other students. For about a year, we left
her closet and dresser as is, adding in more of her chosen clothing but
keeping her “boys” clothing in case she wanted to wear it. She never
wavered, and after a year, we cleared out her closet and dresser together,
removing all of the “boys” clothes.

14.Amy has been in mental health treatment since she was seven years old. She
was diagnosed with gender dysphoria at that age, after which social
transition was recommended. Amy was also diagnosed with ADHD and
anxiety at subsequent points in her treatment. We have seen a few different
psychologists, mostly due to geographical convenience and expertise
working with gender diverse youth. Amy has been seeing her current
therapist for two years — during the first year her appointments were weekly

and the following year she began going every other week. Amy also sees a
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psychiatrist every few months who manages her ADHD and anxiety
medications. Amy’s mental health is maintained with family support. We
plan to establish care with a psychotherapist who specializes in gender
identity as Amy approaches mid-adolescence.

15.In addition to mental health providers, Amy regularly sees her medical
doctors. We first met with a pediatric endocrinologist who specialized in
gender affirming care in 2019, when Amy was seven years old. I wanted to
establish care and know what I needed to look for regarding signs of
beginning puberty, and how to best care for and support my child. We had
kept up regular visits to our pediatrician, who was supportive and affirming,
but we knew that treating children who have gender dysphoria was not his
specialty. We continue to see our pediatrician for annual and sick visits.

16.In early 2022, I reached out to Amy’s pediatric endocrinologist because I
had noticed signs of facial acne and Amy thought she had new hair growing
on her privates. He performed bloodwork which indicated Amy was close to
the beginning of puberty but was not quite there yet. A couple months later
at her next annual check-up appointment, Amy’s pediatrician performed a
physical examination and confirmed that Amy was in early Tanner Stage 2,

which means puberty had begun. Amy’s pediatric endocrinologist was
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notified of the pediatrician’s findings, after which they recommended Amy
to initiate puberty-blocking medication. Amy has taken two doses thus far
(administered every six months), and her next dose is scheduled for August.

17.Based on their assessments, Amy’s doctors have also recommended that she
initiate hormone therapy. Amy is ready, she talks about wanting to grow
breasts and go through female puberty. She expresses that she wants to look
like me when she gets older, as opposed to looking more like her father. She
states clearly that she does not want her penis getting any bigger.

18. I am not ready for Amy to start hormones yet. Due in part to her ADHD and
the impact that has on her executive functioning, I want to give her some
time before taking this next step. However, I don’t want her to be too far
behind her peers developmentally, as many of them have already started
puberty. I know my child the best and I want to be able to make this decision
based on when it is best for my child, and not be rushed into implementing
this next step because we might lose access to hormones as an option due to
this legislation. I am monitoring my child’s health and want to be able to
make a decision on when she should start hormone therapy based on where

she is mentally and how she continues to develop over the coming months.
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19.I am disheartened and frustrated that my child has to fight every day to be
who she is. I have lived in Georgia all my life, and I cannot imagine
uprooting my family and leaving the state but I know that we will do what
we have to do to provide her the best available medical care.

20.After the passage of this law, I felt defeated. Many people seem to feel like
being transgender is a choice, but my husband and I would have never
chosen this for our child—we simply want our daughter to be alive and
thriving. As a nurse, I am frustrated that the state is encroaching on what
care my child can receive, and disregarding decades of medical research and
science in that process.

21. I try very hard to keep Amy mostly unaware of the way transgender
individuals are being attacked and targeted across the country. We are so
lucky that she is such a happy kid now and that she is thriving in her own
bubble. She loves, and is loved, by her family and friends, and I can see
aspects of leadership in her even now. She loves to be creative, loves
cooking and writing plays. She enjoys gaming, and knows her way around
computers. Though she occasionally is challenged by her anxiety and
ADHD, her care is well managed by her medical team, and we are grateful

that she is responding well to her medications.
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22.This law is cruel, unnecessary, and strips me of my right to ensure my child
receives appropriate, evidence-based medical care. | am a mother, and I am
afraid of both the immediate and longstanding effects this lack of care will
have on my child mentally and physically. Amy continues to be living a
happy, fulfilled life as a 12-year-old girl, but she is increasingly concerned

over legislation that can and will impact her future.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 28th day of June 2023.

Respectfully Submitted,

Emma Koe
